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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

                                        “IN ADMIRALTY”

IN THE MATTER OF THE COMPLAINT
OF PIRATE WATER TAXI, LLC FOR                                 Case No.:
EXONERATION FROM OR LIMITATION
OF LIABILITY AS THE OWNER OF
THE CAPTAIN JACK, OFFICIAL
NO. 1165032,
___________________________________/

        PETITION FOR EXONERATION FROM OR LIMITATION OF LIABILITY

          Petitioner, Pirate Water Taxi, LLC (“Pirate Water Taxi”), as owner of a 45-foot Aluminum

Hull Passenger Vessel bearing Official Number 1165032 in a cause of action, civil and maritime,

respectfully seeks exoneration from or limitation of liability in accordance with Rule F,

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, and alleges

upon information and belief as follows:

          1.     This is a case of admiralty and maritime jurisdiction within the meaning of

Rule 9(h) of the Federal Rules of Civil Procedure.

          2.     At all material times, Pirate Water Taxi was doing business within Hillsborough

County, Florida, and was the owner of a 45-foot Aluminum Hull Passenger Vessel bearing Official

Number 1165032 (hereinafter “the Vessel”).

          3.     At all material times, the Vessel was in all respects seaworthy and suitable for use

as a commercial water taxi and passenger vessel in the waters near and around Tampa.

          4.     At all material times, the Vessel was properly manned and equipped.

          5.     Events which give rise to this Petition occurred on navigable waters of the United

States, namely, Hillsborough River, Hillsborough County, Florida.




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          6.     As the Vessel approached the Riverwalk (unbeknownst to the owner and operator),

the Vessel made a hard landing near the Riverwalk. The owner of the Vessel had no privity or

knowledge of the acts of any individual present on the Vessel at the time of the incident. Any

injuries or damage that occurred on the day of December 8, 2019, onboard the Vessel, as a result

of the operation of the Vessel, were not caused or contributed to by any fault, neglect, want of care

or design on the part of Pirate Water Taxi, the owner of the Vessel.

          7.     There are no suits arising out of the aforesaid incident presently pending against

Pirate Water Taxi; however, Pirate Water Taxi is aware of alleged injuries to several passengers.

          8.     This Petition is filed within six (6) months of the first written notice of claim.

          9.     Pirate Water Taxi claims the benefits of the limitation of liability laws of the United

States, 46 U.S.C. § 30501, et seq., and claims exoneration from or limitation of liability for any

injuries, damages and losses of whatever description arising out of the aforesaid incident or during

the voyage upon which the Vessel was engaged on December 8, 2019, and desires to contest the

liability in the event claims are made and allege that they have valid defenses to such claims based

on the facts and applicable law.

          10.    Subject to an appraisal of Pirate Water Taxi’s interest in the Vessel, Petitioners

have, with the filing of this Petition, established a limitation fund of $85,000.00 by filing a Letter

of Undertaking with the Court, and the sum being equal to or more than the value of the Vessel at

the end of the voyage upon which it was engaged on December 8, 2019.

          11.    The Vessel does not appear to have been damaged during said voyage, and there is

no pending freight arising from the voyage upon which the Vessel was engaged on December 8,

2019.




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          12.    Pirate Water Taxi is of the opinion that the Claimants may allege that damages

exceed the value of their interest in the limitation fund and the post-casualty value of the Vessel.

          13.    All and singular premises are true and within the admiralty and maritime

jurisdiction of the United States and this Honorable Court and constitute a claim for relief within

the meaning of Federal Rule of Civil Procedure 9(h).

          WHEREFORE, Pirate Water Taxi prays:

          (a)    for an Order

                 (1)    that due appraisement be made of the amount of the value of Pirate Water

Taxi’s interest in the Vessel at the end of said voyage; and

                 (2)    directing the issuance of a Monition to all persons claiming damages for

any and all injuries and losses occasioned, incurred, or resulting from the aforesaid incident or

during the voyage upon which the Vessel was then engaged, citing them to file their claims with

the Clerk of the Court and to serve or mail to the attorney for Pirate Water Taxi copies thereof on

or before the date to be named in said Monition further to appear and answer the allegations of this

Petition according to the law and practice of this Court at or before a time certain to be fixed by

said Monition; and

          (b)    that an Injunction shall issue restraining the prosecution of all suits, actions and

proceedings already begun to recover for damages sustained and arising out of, occasioned by or

consequent upon the incident aforesaid, and the commencement or prosecution thereafter of any

suit, action, or legal proceeding of any nature or description whatsoever, except in the present

proceeding, against Pirate Water Taxi and/or the Vessel in respect of any claim or claims arising

out of the incident of December 8, 2019, as described above; and

          (c)    for a decree adjudging:




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                 (1)    that neither Pirate Water Taxi nor the Vessel are liable to any extent for any

losses, damages or injuries for any claim whatsoever, in any way arising out of or in consequence

of the aforesaid incident of December 8, 2019, as stated above;

                 (2)    or if Pirate Water Taxi shall be adjudicated liable, then that there liability

be limited to the amount of the value of their interest in the said Vessel at the time of the aforesaid

incident described in this Petition, and that any monies decreed to be paid be divided pro rata

amongst such claimants as may duly prove their claims, saving to all parties and any priorities to

which they may be legally entitled, and that a decree thereupon be entered discharging Pirate Water

Taxi from all further liability; and

          (d)    that Pirate Water Taxi may have such other and further relief as the justice of the

cause may require.

          Dated: February 17, 2020.

                                               /s/ Anthony J. Cuva
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